        Case: 2:23-mj-00631-EPD Doc #: 1-1 Filed: 11/08/23 Page: 1 of 19 PAGEID #: 2




                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE SOUTHERN DISTRICT OF OHIO
                                         EASTERN DIVISION

      IN THE MATTER OF THE SEARCH OF
                                                         Case No. PM
      THE CELLULAR DEVICE ASSIGNED
      CALL NUMBER
                                                         Filed Under Seal
      (614) 615-3696 by T-Mobile

                                   AFFIDAVIT IN SUPPORT OF
                            AN APPLICATION FOR A SEARCH WARRANT

                I, John Butterworth, being first duly sworn, hereby depose and state as follows:

                             I.    INTRODUCTION AND BACKGROUND

       1.        I make this affidavit in support of an application for a search warrant under Federal Rule

of Criminal Procedure 41 and U.S.C. §§ 2703(c)(1)(A) for information about the location of the cellular

telephone assigned call number (614) 615-3696, utilized by Kensel MORGAN, referred to in this

affidavit as the “Target Cellular Device.” The service provider for the target cellular device is T-Mobile,

a wireless telephone service provider headquartered at 12920 Se 38th St., Bellevue, WA 98006. The

Target Cellular Device is described herein and in Attachment A and in Attachment B.

       2.        Because this warrant seeks the prospective collection of information, including cell- site

information, that may fall within the statutory definitions of information collected by a “Pen Register”

and/or “Trap and Trace device”, See 18 U.S.C. § 3127(3) & (4), the requested warrant is designed to

also comply with the Pen Register Act. See U.S.C. §§ 3121-3127. The requested warrant therefore

includes all the information required to be included in an order pursuant to that statute. See 18 U.S.C.

§ 3123(b)(1).

       3.        I am a Task Force Officer, with the Bureau of Alcohol, Tobacco, Firearms and

Explosives and have experience in the investigation, apprehension and prosecution of individuals


                                                       -1-
        Case: 2:23-mj-00631-EPD Doc #: 1-1 Filed: 11/08/23 Page: 2 of 19 PAGEID #: 3




involved in federal and state criminal offenses, the use of cellular devices to commit those offenses,

and the available technology that can be used by law enforcement to assist in identifying the users of

cellular devices and their location.

       4.      During my assignment with ATF and employment as a law enforcement officer, I have

assisted with investigating criminal violations relating to firearms, violent crime, and narcotics

trafficking. I have participated in various aspects of criminal investigations, including interviews,

physical surveillance, and the execution of search warrants. I am familiar with and have participated

in investigative methods, including electronic surveillance, search warrants, and the utilization of

confidential informants.

       5.      The facts in this affidavit come from my personal observations, training, experience,

and information obtained from other investigators and witnesses. This affidavit is intended to show

merely that there is sufficient probable cause for the requested warrant and does not set forth all of my

knowledge about this matter.

       6.      Based on the facts set forth in this affidavit, there is probable cause to believe that

MORGAN, a convicted felon, did knowingly and intentionally possess a firearm in violation 18

U.S.C. § 922(g)(1). As a result, your affiant is requesting a search warrant to locate MORGAN and

the Target Cellular Device.

       7.      There is reason to believe the Target Cellular Device is currently located in the Southern

District of Ohio because KENSEL MORGAN —the user of the Target Cellular Device—is known to

spend most of his time in this district, primarily Columbus, Ohio. Additionally, the Target Cellular

Device has an area code local to Columbus, Ohio and, as further described in the paragraphs below,

Columbus Police Officers viewed text message conversations in which MORGAN appears to be

utilizing the Target Cellular Device while communicating with a victim of a reported incident.

                                                      -2-
        Case: 2:23-mj-00631-EPD Doc #: 1-1 Filed: 11/08/23 Page: 3 of 19 PAGEID #: 4




       8.        I believe that locating the Target Cellular Device will constitute and lead to evidence

of federal offenses, namely 18 U.S.C. § 922(g)(1) Possession of a firearm by a person who has been

convicted in any court, of a crime punishable by imprisonment for a term exceeding one year.

       9.      The court has jurisdiction to issue the proposed warrant because it is a “court of

competent jurisdiction” as defined in 18 U.S.C. § 2711. Specifically, the Court is a district court of the

United States that has jurisdiction over the offense being investigated, see 18 U.S.C. § 2711(3)(A)(i).

                                      II.    PROBABLE CAUSE

       10.     On October 24, 2023, Bureau of Alcohol, Tobacco, Firearms, & Explosives (ATF)

Crime Gun Intelligence Center (CGIC) Ohio Bureau of Criminal Investigation (BCI) Task Force

Officer (TFO) John Butterworth received and reviewed information from the National Integrated

Ballistics Information Network (NIBIN) Enforcement Support System (NESS) regarding NIBIN lead

number 773-23-004914, and identified Kensel MORGAN, a multi-convicted felon, as potentially in

possession of firearm(s) in Franklin County, City of Columbus, Ohio, located within the Southern

Judicial District of Ohio.

       11.     NIBIN is the United States’ national automated network that searches for previously

unknown links between events involving the same firearm(s). NIBIN relies on advanced technology

called IBIS (Integrated Ballistic Identification System) which uses specialized 3D microscopy to

capture the marks left by firearms on fired bullets and fired cartridge cases (cartridge casings) and then

uses algorithms to find similarly marked bullets or cartridge casings within the NIBIN database of

captured images.

       12.     IBIS technology is based on the principles of firearm identification. The firearm

identification discipline is based on the fact that the surfaces of each fabricated item of the firearm

(such as the firing pin, barrel, ejector, and breech block) have random tool marks from the

                                                     -3-
        Case: 2:23-mj-00631-EPD Doc #: 1-1 Filed: 11/08/23 Page: 4 of 19 PAGEID #: 5




manufacturing process that leave marks on components of the fired ammunition. Thus, these

components bear the firearm’s “mechanical fingerprint” once fired.

       13.     NIBIN lead 773-23-004914 indicated .45 caliber cartridge casings fired from the same

crime gun were recovered at the scenes of the following incidents:

       14.     Incident 1 – On March 11, 2023, crime gun 773-23-004914 was believed to be

responsible for a shooting event that was reported by a ShotSpotter event in the area of 470 Whitethorne

Avenue, Columbus, Ohio where Kensel MORGAN is listed within a Columbus Police Department

incident report as a person of interest. MORGAN was implicated by a witness as banging on a door to

the residence and then driving away. Shortly after banging on the door, gun shots were heard, and

MORGAN drove away according to the witness. The witness did not observe MORGAN fire the

shots, however, the witness believed it was MORGAN that did so.

       15.     Incident 2 – On October 17, 2023, crime gun 773-23-004914 was believed to be

responsible for a shooting event that was reported by a victim of criminal damaging. The victim

reported a vehicle struck by bullets while parked at 766 E. Tulane Road, Columbus, Ohio. After

searching the area, officers from the Columbus Police Department observed the damaged vehicle and

located fired cartridge casings across the street from the victim’s address. Kensel MORGAN was listed

in the incident report as a person of interest as the victim stated MORGAN has been making threats

via text message due to the victim not allowing MORGAN to communicate with another associated

person. At that time, the cellular phone number of (614) 615-3696 was provided by the victim to law

enforcement.

       16.     On November 6, 2023, a follow up interview was conducted with the victim in the

October 17, 2023, shooting event by ATF TFO Butterworth and ATF TFO Amanda Hill. The victim

described having known MORGAN for approximately the past two years. During that time the victim

                                                    -4-
        Case: 2:23-mj-00631-EPD Doc #: 1-1 Filed: 11/08/23 Page: 5 of 19 PAGEID #: 6




has, on different occasions, observed MORGAN with a firearm either on his person, or within the

vehicle he is driving. The victim also showed text messages on his/her cellular phone from the target

cellular device phone number of (614) 615-3696 to ATF TFO Butterworth, that included a message

from the victim to MORGAN where he/she used the name “Eugene” in the body of a message to the

target telephone number. The victim and their spouse said MORGAN goes by the name “Eugene” or

“Cuzo” instead of his legal first name of Kensel. In several text messages from the target cellular device

phone number, there were messages from the phone number to the victim threatening to cause physical

injury to the victim and/or their spouse.



                           KENSEL MORGAN CRIMINAL HISTORY

       17.     A query of the Ohio Law Enforcement Gateway (OHLEG) system, the National Crime

Information Center (NCIC) and online public records searches revealed MORGAN had at least the

following convictions that prohibit him from possessing firearms pursuant to Title 18 U.S.C.

922(g)(1). On or about July 29, 1999, in the Delaware County Court of Common Pleas, Ohio,

MORGAN was found guilty of Robbery; a felony of the 3rd degree, and Kidnapping; a felony of the

2nd degree in case number 98:CR:12-0410. On or about December 9, 1999, in the Franklin County

Court of Common Please, Ohio, MORGAN was found guilty of Involuntary Manslaughter, a felony

of the 3rd degree in case number 99CR052534. MORGAN also has a conviction for a violation of

Title 18 U.S. C. 922 (g)(1); a felon in possession of a firearm in United States District Court,

Southern District of Ohio in 2019 in case number 2:19-cr-04.



       18.          Kensel MORGAN is further identified as follows:



                                                     -5-
        Case: 2:23-mj-00631-EPD Doc #: 1-1 Filed: 11/08/23 Page: 6 of 19 PAGEID #: 7




                                         Kensel Ugene MORGAN

                                        Black / Male, 6’2” / 240 lbs.

                                             FBI# 116488CB5




                                       (OHLEG BMV Photograph)



                          RECORDS REVIEW- Columbus Police Department:

       19.     On October 25, 2023, ATF TFO John Butterworth, requested and received Columbus

Police Department incident reports and then after receiving those reports, conducted a review of

them. TFO Butterworth found the following information:

       20.     On March 11, 2023, Columbus Police Officers responded to a report of a Shot Spotter

activation in the area of 470 Whitethorne Ave., Columbus, OH, 43223. The report number,

230176335-001 indicates that officers responded to the scene and met with a victim/witness who

provided information about the incident. The witness, Monica Wade, reported Kensel MORGAN

was at the residence and banging on the door. Shortly after the banging on the door, Wade reported

hearing gunfire outside her home. Wade stated MORGAN drove away from the scene just after the

gun fire. Wade did not observe MORGAN discharge a firearm; however, she believed MORGAN to

                                                   -6-
        Case: 2:23-mj-00631-EPD Doc #: 1-1 Filed: 11/08/23 Page: 7 of 19 PAGEID #: 8




be involved. and Columbus Police Officers were able to locate six (6) .45 caliber cartridge casings.

The casings were collected and secured as evidence. Officers submitted the casings to the Columbus

Police Department property room where they were later submitted to the Columbus Police

Department crime lab for testing and NIBIN entry.

       21.     On June 4, 2023, Columbus Police Officers responded to a report of an

assault/aggravated menacing that occurred at 635 E. Weber Road, Columbus, OH, 43211. Columbus

Police Department report number 230420546-002. The incident was reported by Barlin Revels, who is

currently married to Kensel MORGAN’s ex and reportedly has been having issues with. Revels stated

to officers the two were at the Speedway gas station on E. Weber Road by coincidence when MORGAN

approached Revels and was upset over his son calling Revels “dad.” MORGAN produced a firearm

and pointed it Revels and said “I should smoke you” but put the firearm away when the assault

happened. Revels did not call police until after the incident after his wife felt the incident should be

reported. Revels wasn’t sure if he wanted to pursue criminal charges against MORGAN at the time.

Revels did have visible injuries to the left side of his face, and had a tooth knocked out.

       22.     On October 17, 2023, Columbus Police Officers responded to a report of shots fired at

766 E. Tulane Road, Columbus, OH, 43211. The victim of the report told officers her vehicle had been

shot and damaged. Officers searched the area and located cartridge casings across the street from the

reported address. Officers spoke with the victim, Danielle Porter, who allowed officers to view text

messages between she and the suspect of the incident, Kensel MORGAN. In the text messages, officers

viewed a message from MORGAN that stated the victim could not afford a shootout with him. Porter

reported MORGAN to have been making threats because she is restricting communication with another

woman, Brittany Woodfork. This incident is contained within Columbus Police Department report



                                                     -7-
        Case: 2:23-mj-00631-EPD Doc #: 1-1 Filed: 11/08/23 Page: 8 of 19 PAGEID #: 9




number 230808294-001. The collected cartridge casings were submitted as evidence as secured. The

Columbus Police Department incident report notes MORGAN’s phone number as (614) 615-3696.


                               ATTEMPTS AT LOCATING MORGAN:

       23.     On October 26, 2023, ATF TFO John Butterworth, and ATF TFO Josh Wright,

attempted to locate MORGAN and/or the vehicle that MORGAN has been reported to have been

operating. The vehicle, a maroon in color 2015 Chevrolet Malibu, has been reported as MORGAN’s

vehicle, but is registered to Sabrina Harrell. It is unknown at this time the relationship between

MORGAN and Harrell.

       24.     TFO Butterworth travelled to the address of 499 Heather Hill Road to attempt to locate

the vehicle or MORGAN. At approximately 1715 hours, TFO Butterworth was driving southbound on

Heather Hill Road from Fairway Oaks Drive and passed a maroon Chevrolet Malibu that appeared to

be operated by a Black male. TFO Butterworth radioed TFO Wright the information and continued

southbound on Heather Hill Road to check the residence of 499. TFO Butterworth did not observe any

other vehicle at 499 Heather Hill Road and continued around the area to attempt to locate the maroon

Chevrolet Malibu.

       25.     TFO Butterworth located the maroon Chevrolet Malibu and was able to confirm the

registration on the rear of the vehicle as Ohio registration JZU8832. TFO Butterworth radioed TFO

Wright that the vehicle registration was confirmed as the car MORGAN was suspected of operating.

Rolling surveillance was conducted in an attempt to identify the driver if the vehicle was going to

stop at an unknown location.




                                                    -8-
        Case: 2:23-mj-00631-EPD Doc #: 1-1 Filed: 11/08/23 Page: 9 of 19 PAGEID #: 10




       26.     TFO Butterworth lost sight of the vehicle in the area of 5th Avenue and I-670. TFO

Butterworth and TFO Wright then drove to the area of 2483 Brocton Court, Columbus, Ohio in an

attempt to locate the vehicle at a known residence where MORGAN may be located.

       27.     TFO Butterworth was driving southbound on Brocton Road and continued south passing

Brocton Court when the maroon Chevrolet Malibu was observed driving eastbound toward Brocton

Road. TFO Butterworth continued southbound on Brocton Road and the Malibu pulled off of Brocton

Court and went southbound behind TFO Butterworth. TFO Wright radioed that he was close to the area

and TFO Butterworth drove north toward Mock Road. TFO Butterworth drove eastbound on Mock

Road and the Malibu drove westbound on Mock Road. TFO Wright was able to locate and follow the

Malibu westbound on Mock Road.

       28.     TFO Wright followed the Malibu to the area of 2333 Century Drive, Columbus, Ohio.

TFO Wright observed the Black male who was operating the vehicle, exit and walk up the driveway to

the residence. TFO Wright was able to photograph the driver of the Malibu and confirm that the driver

was Kensel MORGAN. TFO Wright and TFO Butterworth then left the area and discontinued

surveillance on this date.

                             FRANKLIN COUNTY RESIDENTIAL CHECKS:

       29.     Investigators checked law enforcement data bases and found multiple addresses

associated with MORGAN. Investigators went to the following addresses in an attempt to locate

MORGAN on October 27, 2023, and have not observed MORGAN or the 2015 Chevrolet Malibu

bearing Ohio registration JZU8832:

                 a. 499 Heather Hill Road, Whitehall, Ohio

                 b. 2483 Brocton Court, Columbus, Ohio

                 c. 2333 Century Drive, Columbus, Ohio

                                                   -9-
       Case: 2:23-mj-00631-EPD Doc #: 1-1 Filed: 11/08/23 Page: 10 of 19 PAGEID #: 11




                 d. 2359 Century Drive, Columbus, Ohio

                 e. 1746 Kenmore Road, Columbus, Ohio

                 f. 746 E. Tulane Road, Columbus, Ohio

                 g. 470 Whitethorne Avenue, Columbus, Ohio


                                    III.   Training and Experience

       30.     Based on my own training and experience, and my consultation with others at ATF with

experience in conducting these investigations, I know that people who possess weapons will maintain

these weapons in their homes or in structures (such as garages and sheds) and vehicles at their

residences. People who possess firearms often have other items commonly used or associated with the

possession of firearms. Some of these items include, but are not limited to: other firearms, ammunition,

firearm magazines, holsters, gun cases, gun accessories, and purchase information. These items are

commonly stored in their residences so that they have ready access to them. Furthermore, based on my

training and experience and also numerous court decisions, I know firearms are not readily disposed

of, are held in possession for long periods of time, and are commonly stored and maintained in the

places described above.

       31.     I believe utilizing information obtained through this search warrant will assist in locating

MORGAN’s place of residence and frequented places. Combining my knowledge of the location

where firearms are commonly stored, and my knowledge of the length of time individuals possess

firearms, I believe the Target Cellular Device location would assist investigators in determining

locations where MORGAN is storing these firearms and aid in uncovering where MORGAN obtains

the firearms he is illegally possessing.




                                                    -10-
       Case: 2:23-mj-00631-EPD Doc #: 1-1 Filed: 11/08/23 Page: 11 of 19 PAGEID #: 12




       32.     Information obtained from this search warrant will be used to attempt to locate

MORGAN over the next 30 days.

       33.     In my training and experience, I have learned that T-Mobile is a company with its

headquarters located within the United States and it provides cellular telephone access to the general

public. I also know that providers of cellular telephone service have technical capabilities that allow

them to collect and generate information about the locations of the cellular telephones to which they

provide service, including E-911 Phase II data, also known as GPS data or latitude-longitude data and

cell-site data, also known as “tower/face information” or cell tower/sector records. E-911 Phase II

data provides relatively precise location information about the cellular telephone itself, either via GPS

tracking technology built into the phone or by triangulating on the device’s signal using data from

several of the provider’s cell towers. [Cell-site data identifies the “cell towers” (i.e., antenna towers

covering specific geographic areas) that received a radio signal from the cellular telephone and, in

some cases, the “sector” (i.e., faces of the towers) to which the telephone connected. These towers

are often a half-mile or more apart, even in urban areas, and can be 10 or more miles apart in rural

areas. Furthermore, the tower closest to a wireless device does not necessarily serve every call made

to or from that device. Accordingly, cell-site data is typically less precise that E-911 Phase II data.

             34.    Based on my training and experience, I know that T-Mobile can collect E-911

    Phase II data about the location of the Target Cell Phone, including by initiating a signal to

    determine the location of the Target Cell Phone on T-Mobile’s network or with such other

    reference points as may be reasonably available.

             35.    Based on my training and experience, I know that T-Mobile can collect cell-site

    data about the Target Cell Phone. Based on my training and experience, I know that for each

    communication a cellular device makes, its wireless service provider can typically determine: (1)

                                                     -11-
       Case: 2:23-mj-00631-EPD Doc #: 1-1 Filed: 11/08/23 Page: 12 of 19 PAGEID #: 13




     the date and time of the communication; (2) the telephone numbers involved, if any; (3) the cell

     tower to which the customer connected at the beginning of the communication; (4) the cell tower

     to which the customer connected at the end of the communication; and (5) the duration of the

     communication. I also know that wireless providers such as T-Mobile typically collect and

     retain cell-site data pertaining to cellular devices to which they provide service in their normal

     course of business in order to use this information for various business-related purposes.

              IV.     AUTHORIZATION REQUEST & MANNER OF EXECUTION

        36.     Based on the foregoing, I request that the Court issue the proposed search warrant

pursuant to Federal Rule of Criminal Procedure 41 and 18 U.S.C. § 2703(c).

        37.     In my training and experience, I have learned that cellular phones and other cellular

devices communicate wirelessly across a network of cellular infrastructure, including towers that route

and connect individual communications. When sending or receiving a communication, a cellular device

broadcasts certain signals to the cellular tower that is routing its communication. These signals include

a cellular device’s unique identifiers.

        38.     Wireless providers also maintain business records and subscriber information for

particular accounts. This information could include the subscribers’ full names and addresses, the

address to which any equipment was shipped, the date on which the account was opened, the length of

service, the types of service utilized, the ESN or other unique identifier for the cellular device associated

with the account, the subscribers’ Social Security Numbers and dates of birth, all telephone numbers

and other identifiers associated with the account, and a description of the services available to the

account subscribers. In addition, wireless providers typically generate and retain billing records for

each account, which may show all billable calls (including outgoing digits dialed). The providers may



                                                      -12-
       Case: 2:23-mj-00631-EPD Doc #: 1-1 Filed: 11/08/23 Page: 13 of 19 PAGEID #: 14




also have payment information for the account, including the dates, times and sometimes, places, of

payments and the means and source of payment (including any credit card or bank account number).

       39.     I further request, pursuant to 18 U.S.C. § 3103a(b) and Federal Rule of Criminal

Procedure 41(f)(3), that the Court authorize the officer executing the warrant to delay notice until 30

days after the collection authorized by the warrant has been completed. This delay is justified because

there is reasonable cause to believe that providing immediate notification of the warrant may have an

adverse result as defined in 18 U.S.C. § 2705. Providing immediate notice to the subscriber or user of

the target cellular device would seriously jeopardize the ongoing investigation. Such disclosure would

give that person an opportunity to destroy evidence, change patterns of behavior, notify confederates,

and flee from prosecution. See 18 U.S.C. § 3103a(b)(1). There is a reasonable necessity for the use of

the techniques described. See 18 U.S.C. § 3103a(b)(2). As further specified in the attachment, which is

incorporated into the warrant, the proposed search warrant does not authorize the seizure of any tangible

property. See 18 U.S.C. § 3103a(b)(2). Moreover, to the extent that the warrant authorizes the seizure

of any wire or electronic communication (as defined in 18 U.S.C. § 2510) or any stored wire or

electronic information, there is a reasonable necessity for that seizure. See 18 U.S.C. § 3103a(b)(2).

       40.     I further request the following information from the service provider: all precision real-

time location information, including E-911 Phase II data, GPS data, and latitude-longitude data, and

real time cell site information; call detail records, including cell site location information for the past

90 days; subscriber information and extended subscriber information; handset information; and per call

measurement data, timing advanced/true call, RTT, NELOS for the past 30 days.

       41.     I further request that the Court authorize execution of the warrant at any time of day or

night, owing to the potential need to locate the target cellular device outside of daytime hours.



                                                     -13-
       Case: 2:23-mj-00631-EPD Doc #: 1-1 Filed: 11/08/23 Page: 14 of 19 PAGEID #: 15




       42.     I further request that the Court order all documents in support of this application,

including the affidavit and search warrant, be sealed until further order by the Court. These documents

discuss an ongoing criminal investigation that is neither public nor known to all of the targets of the

investigation. Accordingly, there is good cause to seal these documents because their premature

disclosure may seriously jeopardize the investigation. I further request that the Court order any service

provider, or their representatives, not to disclose the existence of this warrant or investigation unless

ordered to do so by the Court.

       43.     A search warrant may not be legally necessary to authorize all of the investigative

techniques described. Nevertheless, I submit this warrant application out of an abundance of caution.

                                         V.     CONCLUSION

       44.     Based on the facts set forth in this affidavit, there is probable cause to believe that

MORGAN, a previously convicted felon, did knowingly and intentionally possess a firearm, in

violation of 18 U.S.C. § 922(g)(1) – Felon in Possession of a Firearm.

       45.     There is also probable cause to believe that the location information associated with the

Target Cellular Device will assist in identifying previous locations corresponding to dates and times

that MORGAN possessed the aforementioned firearms, to aid in establishing venue. Furthermore, the

current location of the Target Cellular Device will assist in locating MORGAN in an effort to obtain

evidence of the subject offenses, to include the subject firearm and Target Cellular Device, among other

items. GPS/E-911 data will assist agents in determining MORGAN’s general location.




                                                    -14-
  Case: 2:23-mj-00631-EPD Doc #: 1-1 Filed: 11/08/23 Page: 15 of 19 PAGEID #: 16




                                                  Respectfully submitted,




                                                  Johnn Butterworth,
                                                        Butterworth, Task Force Officer
                                                                                Of
                                                  Bureau of Alcohol, Tobacco, Firearms and
                                                  Explosives




Sworn to before me and signed in my
presence and/or by reliable electronic means.




_____________________________________
HONORABLE ELIZABETH PRESTON-DEAVERS
UNITED STATES MAGISTRATE JUDGE




                                                -15-
Case: 2:23-mj-00631-EPD Doc #: 1-1 Filed: 11/08/23 Page: 16 of 19 PAGEID #: 17




                                   ATTACHMENT A

                                Property to Be Searched


 1. The cellular telephone assigned call number (614) 615-3696, with listed subscriber(s)

    unknown (the “Target Cell Phone”), whose wireless service provider is T-Mobile, a

    company headquartered at 12920 Se 38th St., Bellevue, WA 98006

 2. Records and information associated with the Target Cell Phone that is within the

    possession, custody, or control of T-Mobile.




                                           -1-
  Case: 2:23-mj-00631-EPD Doc #: 1-1 Filed: 11/08/23 Page: 17 of 19 PAGEID #: 18




                                        ATTACHMENT B
                                  Particular Things to Be Seized
                                from Cell Phone Service Provider

       1.      Information about the target cell phone and its location, later referred to collectively

as “location information,” to include all precision location information, E-911 Phase II data, GPS

data, latitude-longitude data, per call measurement data (PCMD, RTT, True Call, NELOS, or

equivalent), and real time cell site information for 30 days, beginning from the date the warrant

was issued. The information includes monitoring non-content signaling and routing information,

including all non-content packet switched data, through the installation and use of a pen register

and trap and trace device pursuant to 18 U.S.C. § 3123 by the service provider and the Bureau of

Alcohol, Tobacco, Firearms and Explosives. Because the request for such location data may

include use of a “pen register” or a “trap and trace device,” see 18 U.S.C. § 3127(3) & (4), the

application and the warrant are designed to comply with the Pen Register Statute as well as Rule

41. The application therefore includes all information required for and serves as a pen register

application, 18 U.S.C. § 3123(a); similarly, the warrant therefore includes all the information

required for and serves as a pen register order, 18 U.S.C. § 3123(b).

       2.      To the extent that the information described is within the possession, custody, or

control of the service provider, the service provider is required to disclose all location information

to the government.

       3.      All subscriber, extended subscriber, handset information, and WI-FI MAC address,

as well as all technical assistance necessary to accomplish the collection of the location information

unobtrusively and with as little interference as possible. This includes initiating a signal to

determine the location of the target cell phone on the service provider’s network or with such other
                                                 -1-
  Case: 2:23-mj-00631-EPD Doc #: 1-1 Filed: 11/08/23 Page: 18 of 19 PAGEID #: 19




reference points as may be reasonably available and at such intervals and times directed by the

government.

       4.      Call detail records, SMS/Text, and data including cell site location information, for

the past three months (90) days. Per Call Measurement Data, Timing Advanced/True Call, RTT,

NELOS and real time cell site information for the past 30 days through the expiration of this

warrant. The government shall compensate the service provider for reasonable expenses incurred

in furnishing such facilities or assistance. Any service provider or representative who gains access

to the information in this warrant shall not disclose the existence of the warrant or investigation

unless disclosure is to their attorneys for purposes of seeking legal advice or disclosure is explicitly

allowed / ordered by the Court.

       5.      Service provider is required to disclose all business records and subscriber

information, in any form kept, pertaining to the individual accounts, including subscribers’ full

names, address, shipping addresses, date account was opened, length of service, the types of

service utilized, ESN (Electronic Serial Number) or other unique identifier for the wireless device

associated with the account, Social Security number, date of birth, driver’s license, telephone

numbers, and other identifiers associated with the account. All payment information, including

source of payments (including any credit or bank account number). Any and all special features,

for any numbers dialed or pulsed from and to the target telephone for the past sixty (60) days.

       6.      Law enforcement personnel (who may include, in addition to law enforcement

officers and agents, attorneys for the government, attorney support staff, agency personnel

assisting the government in this investigation, and outside technical experts under government



                                                  -1-
  Case: 2:23-mj-00631-EPD Doc #: 1-1 Filed: 11/08/23 Page: 19 of 19 PAGEID #: 20




control) are authorized to review the records produced by the Provider in order to locate the things

particularly described in this warrant.

       7.      This warrant does not authorize the seizure of any tangible property. In approving

this warrant, the Court finds reasonable necessity for the seizure of the information described. See

18 U.S.C. § 3103a(b)(2).




                                                -1-
